Case 2:19-cr-00313-SVW Document 285 Filed 08/11/21 Page lofi Page ID #:1843

 

 

 

 

 

 

 

 

 

 

 

 

 

FILED
CLEPY, U.S. STRICT COURT
UNITED STATES DISTRICT COURT AUG | | yA
CENTRAL DISTRICT OF CALIFORNIA
CENTRAL DISTRIQT, OF CALIFORNIA
BY uy /_— DEPUTY
UNITED STATES OF AMERICA CASE NO. 2:19-er-313-SVW |
VS.
MARK STEVEN DOMINGO JURY VERDICT FORM
Defendant.
COUNT ONE >
DEFENDANT NOT GUILTY GUILTY
Mark Steven Domingo /

 

 

 

 

 

 

COUNT TWO

 

DEFENDANT

NOT GUILTY

GUILTY

 

 

Mark Steven Domingo

 

 

Vv

 

 

Date: O&-/!-2021

Signature of Foreperson:,

REDACTED AS TO NAME
